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JASON M. FRIERSON

United States Attorney —— FILED ——— RECEIVED
District of Nevada ENTERED user ERED ON
Nevada Bar Number 7709 NREL PARTIES OF RECORD
ALLISON REESE

Assistant United States Attorney NOV 28 2023

Nevada Bar 13977

501 Las Vegas Boulevard South, Suite 1100 CLERK US DISTRICT COURT

Las Vegas, Nevada 89101 BY. DISTRICT OF NEVADA

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Attorneys for the United States of America

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

UNITED STATES OF AMERICA, No. 2:23-cr- \2e-
Plaintiff,
Binding Plea Agreement Pursuant to Fed. R.
Ws Crim. 11(c)(1)(C) for Defendant
JEREMY LEE HUTH, Jeremy Lee Huth
Defendant.

This plea agreement between Jeremy Lee Huth (“defendant”) and the United States
Attorney’s Office for the District of Nevada (the “USAO”) sets forth the parties’ agreement
regarding the criminal charges referenced herein and the applicable sentences, and fines, in the
above-captioned case. This is a binding agreement pursuant to Federal Rule Criminal

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Procedures 11(c)(1)(C). The government and the defendant agree that a sentence of 63 months
imprisonment and a supervised release term of three years is appropriate in this case. If the
district court accepts the plea agreement it will be obligated to impose the agreed-upon sentence.
This agreement binds defendant, the USAO, and the district court and does not bind the U.S.

Probation Office, or any other federal, state, local, or foreign prosecuting, enforcement,

administrative, or regulatory authorities. This agreement does not prohibit the USAO or any

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agency or third party from seeking any other civil or administrative remedies, including
administrative forfeiture or civil forfeiture in rem actions, directly or indirectly against defendant
or defendant’s property.
This agreement becomes effective upon signature by defendant, defendant’s counsel, and
an Assistant United States Attorney.
I. DEFENDANT’S OBLIGATIONS
1. Defendant agrees to:

a. Give up the right to indictment by a grand jury and, at the earliest
opportunity requested by the USAO and provided by the Court, appear and plead guilty toa
one-count information in the form attached to this agreement as Exhibit A or a substantially
similar form, which charges defendant with Assault on a Federal Officer or Employee with

Intent to Commit Another Felony in violation of 18 U.S.C. § 111(a)(1) (Count 1);

b. Stipulate to the facts agreed to in this agreement;

c. Abide by all agreements regarding sentencing contained in this agreement;

d. Not seek to withdraw defendant’s guilty plea once it is entered;

e. Not request release or seek to modify the existing pre-trial order of
detention;

f. Appear for all court appearances, surrender as ordered for service of

sentence, obey all conditions of any bond, and obey any other ongoing court order in this matter;
g. Not commit any federal, state, or local crime;
h. Be truthful at all times with the U.S. Probation and Pretrial Services Offices
and the Court;
Il. THE USAO’S OBLIGATIONS

Ds The USAO agrees to:

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a. Stipulate to facts agreed to in this agreement;
b. Abide by all agreements regarding sentencing contained in this agreement;
é At sentencing, provided that defendant demonstrates an acceptance of

responsibility for the offense up to and including the time of sentencing, recommend a two-level
reduction in the applicable sentencing guidelines offense level, pursuant to USSG § 3E1.1, and
move for an additional one-level reduction if available under that section;

d. Not bring any additional charges against defendant arising out of the
factual basis set forth in this agreement. However, the USAO reserves the right to prosecute
defendant for (a) any crime of violence as defined by 18 U.S.C. § 16; and (b) any criminal tax
violations (including conspiracy to commit such violations chargeable under 18 U.S.C. § 371).
Defendant agrees that the district court at sentencing may consider any uncharged conduct in
determining the applicable sentencing guidelines range, the propriety and extent of any departure
from that range, and the sentence to be imposed after consideration of the sentencing guidelines
and all other relevant factors under 18 U.S.C. § 3553(a).

I. ELEMENTS OF THE OFFENSE
3 Count One: The elements of Assault on a Federal Officer with Intent to Commit
Another Felony under 18 U.S.C. § 111(a)(1) are as follows:

First: The Defendant forcibly assaulted A.D., C.H., and D.O.,

Second: The Defendant did so while A.D., C.H., and D.O. were engaged in their
official duties;

Third: The Defendant acted with the intent to commit another felony (here, Stop
Required Upon Signal of Peace Officer, in violation of NRS §
484B.550.3(b), a class B felony under the Nevada Revised Statutes).

See Ninth Circuit Model Criminal Jury Instruction 8.1 (2022 ed.).

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IV. CONSEQUENCES OF CONVICTION
4. Maximum Statutory Penalties:

a. Defendant understands that the statutory maximum sentence the district
court can impose for a violation of 18 U.S.C. § 111(a)(1) as charged in Count One, is: eight years
imprisonment; a three-year period of supervised release; a fine of $250,000; and a mandatory
special assessment of $100.

3: Parole Abolished: Defendant acknowledges that defendant’s prison sentence

cannot be shortened by early release on parole because parole has been abolished.

6. Supervised Release: Defendant understands that supervised release is a period of

time following imprisonment during which defendant will be subject to various restrictions and
requirements. Defendant understands that if defendant violates one or more of the conditions of
any supervised release imposed, defendant may be returned to prison for all or part of the term of
supervised release authorized by statute for the offense that resulted in the term of supervised
release, which could result in defendant serving a total term of imprisonment greater than the
statutory maximum stated above.

7. Factors under 18 U.S.C. § 3553: Defendant understands that the district court

must consider the factors set forth in 18 U.S.C. § 3553(a) in determining defendant’s sentence.

However, the statutory maximum sentence limits the district court’s discretion in determining

defendant’s sentence.

8. Potential Collateral Consequences of Conviction: Defendant understands that, by

pleading guilty, defendant may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm, the right to hold office, and the
right to serve on a jury. Defendant understands that once the district court accepts defendant’s

guilty plea, it will be a federal felony for defendant to possess a firearm or ammunition.

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Defendant understands that the conviction in this case may also subject defendant to various
other collateral consequences, including but not limited to revocation of probation, parole, or
supervised release in another case and suspension or revocation of a professional license.
Defendant understands that unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

9. Potential Removal/Deportation Consequences of Conviction: Defendant

understands that, if defendant is not a United States citizen, the felony conviction in this case
may subject defendant to removal, also known as deportation, which may, under some
circumstances, be mandatory; denial of citizenship; and denial of admission to the United States
in the future. The district court cannot advise defendant fully regarding the immigration
consequences of the felony conviction in this case, but defendant’s attorney has advised him
about the deportation risks of his guilty plea. Defendant understands that unexpected
immigration consequences will not serve as grounds to withdraw defendant’s guilty plea.
V. FACTUAL BASIS

10. Defendant admits that defendant is, in fact, guilty of the offense to which
defendant is agreeing to plead guilty. Defendant acknowledges that if defendant elected to go to
trial instead of pleading guilty, the USAO could prove defendant’s guilt beyond a reasonable
doubt. Defendant further acknowledges that defendant’s admissions and declarations of fact set
forth below satisfy every element of the charged offense. Defendant waives any potential future
claim that the facts defendant admitted below are insufficient to satisfy the elements of the
charged offense. Defendant admits and declares under penalty of perjury that the facts set forth
below are true and correct:

On or about January 27, 2020, United States Deputy Marshals A.D., C.H., and D.O.,

who were engaged in their official duties, began surveillance in the area of 3684 Paradise Road

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in Las Vegas, Nevada. The Deputies were attempting to locate and arrest Defendant based on a
lawful arrest warrant. Defendant was a fugitive out of Washington State for Unlawful
Possession of a Firearm and Possession of a Controlled Substance. Deputies observed Defendant
enter a silver Dodge Ram truck, which then left the area and began to drive around the Las
Vegas area making several stops. Deputies observed the truck eventually stop in the southwest
corner of the parking lot of the Viridian Apartments, located at 4255 W. Viking Road, Las
Vegas, Nevada. At this point, Deputies attempted to take Defendant into custody. All US
Marshals Deputies (wearing their full police vests clearing bearing the words “POLICE”)
activated their red and blue police lights in their undercover vehicles and at least one wail of the
siren was heard as the Deputies proceeded to block in Defendant’s truck. Deputy A.D. used his
black Dodge Ram (passenger Deputy C.H.), and Deputy D.O. used his Ford Edge.

After Deputies approached the rear of Defendant’s vehicle, the Defendant, who was
attempting to flee, reversed his vehicle impacting Deputy A.D.’s vehicle. Deputies A.D. and
C.H. were in the vehicle at the time of the first impact. Defendant then drove forward towards
the block wall in front of him in a further attempt to escape or flee. At this point, all deputies
were getting out of their vehicles. Deputy C.H. approached the vehicle on the right passenger
side and began yelling commands. Defendant again changed direction and forcibly assaulted
Deputies A.D., C.H., and D.O. by driving his vehicle in reverse in the direction of the Deputies’
vehicles and the Deputies who were on foot. Defendant’s truck hit Deputy A.D.’s vehicle. After
impact and despite repeated commands to stop, the Defendant ignored the deputies’ lawful
commands and instead continued to rev the engine causing the tires of his truck to continue to
spin with the intent to force a path for him to flee and escape. The Defendant admits that the

aforementioned conduct is a Class B felony under the Nevada Revised Code, specifically, a

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violation of NRS 484B.550.3(b) (Stop Required Upon Signal of Peace Officer). Unable to get
past the deputies’ vehicles, Defendant ultimately surrendered and was taken into custody.
All of the foregoing occurred in the State and Federal District of Nevada.
VI. SENTENCING FACTORS

11. Discretionary Nature of Sentencing Guidelines: Defendant understands that in

determining defendant’s sentence, the district court is required to calculate the applicable
sentencing guidelines range and to consider that range, possible departures under the sentencing
guidelines, and the other sentencing factors set forth in 18 U.S.C. § 3553(a). Defendant
understands that the sentencing guidelines are advisory only, that defendant cannot have any
expectation of receiving a sentence within the calculated sentencing guidelines range, and that
after considering the sentencing guidelines and the other § 3553(a) factors, the district court will
be free to exercise its discretion to impose any sentence it finds appropriate up to the maximum
set by statute for the crime of conviction.

12. Offense Level Calculations: The parties stipulate to the following calculation of

defendant’s offense level under the sentencing guidelines; the Court should use the following
base offense level and adjustments; agree that these stipulations will bind the district court
pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C) if it accept this plea agreement; and
agree that they will not seek to apply or advocate for the use of any other base offense level(s) or

any other specific offense characteristics, enhancements, or reductions in calculating the advisory

guidelines range:

Base Offense Level [USSG § 2A2.2(a)]: 14
[Law Enforcement Victim] [USSG § 3A1 .2(c)(1)]: +6
Adjusted Offense Level: 20

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18, Career Offender: Defendant understands that defendant’s offense level could be

increased if defendant is a career offender under USSG §§ 4B1.1 and 4B1.2. If defendant’s
offense level is so altered, defendant and the USAO will not be bound by the agreement to

Sentencing Guideline factors set forth above.

14. Reduction for Acceptance of Responsibility: Under USSG § 3E1.1(a), the USAO

will recommend that defendant receive a two-level downward adjustment for acceptance of
responsibility unless defendant (a) fails to truthfully admit facts establishing a factual basis for the
guilty plea when defendant enters the plea; (b) fails to truthfully admit facts establishing the
amount of restitution owed when defendant enters the guilty plea; (c) fails to truthfully admit
facts establishing the forfeiture allegations when defendant enters the guilty plea; (d) provides
false or misleading information to the USAO, the Court, Pretrial Services, or the Probation
Office; (e) denies involvement in the offense or provides conflicting statements regarding
defendant’s involvement or falsely denies or frivolously contests conduct relevant to the offense;
(f) attempts to withdraw defendant’s guilty plea; (g) commits or attempts to commit any crime;
(h) fails to appear in court; or (i) violates the conditions of pretrial release.

Under USSG § 3E1.1(b), if the district court determines that defendant’s total offense
level before operation of § 3E1.1(a) is 16 or higher, and if the USAO recommends a two-level
downward adjustment pursuant to the preceding paragraph, the USAO will move for an
additional one-level downward adjustment for acceptance of responsibility before sentencing
because defendant communicated defendant’s decision to plead guilty in a timely manner that
enabled the USAO to avoid preparing for trial and to efficiently allocate its resources.

15. Criminal History Category: Defendant acknowledges that the district court may
base defendant’s sentence in part on defendant’s criminal record or criminal history. The district

court will determine defendant’s criminal history category under the sentencing guidelines.

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16. Additional Sentencing Information: The stipulated sentencing guidelines

calculations are based on information now known to the parties. Defendant understands that
both defendant and the USAO are free to (a) supplement the facts in this agreement by supplying
relevant information to the U.S. Probation and Pretrial Services Offices and the district court
regarding the nature, scope, and extent of defendant’s criminal conduct and any aggravating or
mitigating facts or circumstances; and (b) correct any and all factual misstatements relating to the
district court’s sentencing guidelines calculations and determination of sentence. While this
paragraph permits both the USAO and defendant to submit full and complete factual
information to the U.S. Probation and Pretrial Services Offices and the district court, even if that
factual information may be viewed as inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not to contest the facts agreed
to in this agreement. Good faith efforts to provide truthful information or to correct factual
misstatements shall not be grounds for defendant to withdraw defendant’s guilty plea.

Defendant acknowledges that the U.S. Probation Office may calculate the sentencing
guidelines differently and may rely on additional information it obtains through its investigation.
Defendant also acknowledges that the district court may rely on this and other additional
information as it calculates the sentencing guidelines range and makes other sentencing
determinations, and the district court’s reliance on such information shall not be grounds for
defendant to withdraw defendant’s guilty plea.

VII. POSITIONS REGARDING SENTENCING

17. This is a binding plea agreement under Federal Rule of Criminal Procedure

11(c)(1)(C). The parties will jointly recommend that the district court sentence Defendant to a

63-month term of imprisonment. In the event that a sentence of 63 months is outside

Defendant’s sentencing guideline range as determined by the district court, the parties will

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jointly request a variance to 63 months. In agreeing to this sentencing recommendation, the
parties have taken into consideration all of the factors set forth in 18 U.S.C. § 3553(a) and
conclude that a sentence of 63 months is a reasonable sentence. The parties understand and the
defendant acknowledges that, if the district court accepts this binding plea agreement, this
recommended 63-month sentence will be binding on the district court pursuant to Fed. R. Crim.
P. 11(c)(1)(A) and (C). Either party may withdraw from this Plea Agreement in the event that
the district court informs the parties that it rejects this binding Plea Agreement. See Fed. R.
Crim. P. 11(c)(1)(5).

18. The parties will also request that the sentence run concurrently with the
defendant’s following state court cases in Snohomish County Superior Court in the State of
Washington: 18-1-01689-31; 18-1-01681-31; 19-1-00914-31; 19-1-01609-31; 19-1-01869-31; and
19-1-00914-31.

19. If the district court rejects this binding Plea Agreement, defendant is advised that
(a) the district court is not required to follow the plea agreement; (b) both defendant and the
USAO have the opportunity to withdraw from the plea; and (c) if he plea is not withdrawn, the
district court may dispose of the case less favorably toward the defendant than the plea
agreement contemplated, pursuant to Fed. R. Crim. P. 11(c)(1)(A)-(C). Defendant
acknowledges, if the district court rejects the plea agreement and defendant chooses not to
withdraw defendant’s guilty plea, the district court does not have to follow the recommendation
of either party.

20. Notwithstanding its agreement to recommend a sentence as described above, the
USAO reserves its right to defend any lawfully imposed sentence on appeal or in any post-

conviction litigation.

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21.  Ifdefendant commits any act that results in the Court finding that defendant is
not entitled to a downward adjustment for acceptance of responsibility, the USAO is entitled to
argue for any sentence it deems appropriate under 18 U.S.C. § 3553(a). In any such event,
Defendant remains bound by the provisions of this agreement and shall not have the right to
withdraw defendant's guilty plea.

VI. WAIVER OF CONSTITUTIONAL RIGHTS

22. Defendant understands that by pleading guilty, defendant gives up the following
rights:

a. The right to persist in a plea of not guilty;

b. The right to a speedy and public trial by jury;

c. The right to be represented by counsel—and if necessary have the court
appoint counsel—at trial. Defendant understands, however, that, defendant retains the right to
be represented by counsel—and if necessary have the court appoint counsel—at every other stage
of the proceeding;

d. The right to be presumed innocent and to have the burden of proof placed

on the USAO to prove defendant guilty beyond a reasonable doubt;

e. The right to confront and cross-examine witnesses against defendant;

f. The right to testify and to present evidence in opposition to the charges,
including the right to compel the attendance of witnesses to testify;

g. The right not to be compelled to testify, and, if defendant chose not to
testify or present evidence, to have that choice not be used against defendant; and

h. The right to pursue any affirmative defenses; Fourth Amendment or Fifth
Amendment claims; any other pretrial motions that have been filed or could be filed; and

challenges to any adverse pre-trial rulings (unless specifically reserved in the following section).

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IX. WAIVER OF APPELLATE RIGHTS

23. Waiver of Appellate Rights: Defendant knowingly and expressly waives: (a) the
right to appeal any sentence imposed within or below the applicable Sentencing Guideline range
as determined by the district court; (b) the right to appeal the manner in which the district court
determined that sentence on the grounds set forth in 18 U.S.C. § 3742; and (c) the right to appeal
any other aspect of the conviction, including but not limited to the constitutionality of the statute
of conviction; any other aspect of the sentence, including but not limited to the constitutionality
of any mandatory or standard conditions of supervised release; and any order of restitution or
forfeiture.

24. Defendant reserves only the right to appeal any portion of the sentence that is

above the statutory maximum term of imprisonment.

25. | Waiver of Post-Conviction Rights: Defendant also knowingly and expressly

waives all collateral challenges, including any claims under 28 U.S.C. § 2255, to defendants
conviction, sentence, and the procedure by which the district court adjudicated guilt and
imposed sentence, except non-waivable claims of ineffective assistance of counsel.

26. Preservation of Evidence: Defendant acknowledges that the USAO and the

agencies investigating this case are not obligated or required to preserve any evidence obtained in

the investigation of this case.

XI. RESULT OF WITHDRAWAL OF GUILTY PLEA
OR VACATUR/REVERSAL/SET-ASIDE OF CONVICTION

27. Consequence of Withdrawal of Guilty Plea: Defendant agrees that if, after

entering a guilty plea pursuant to this agreement, defendant seeks to withdraw and succeeds in
withdrawing defendant’s guilty plea on any basis other than a claim and finding that entry into

this agreement was involuntary, then (a) the USAO will be relieved of all of its obligations under

this agreement and (b) should the USAO choose to pursue any charge that was either dismissed
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or not filed as a result of this agreement, or that the government agreed to move to dismiss at
sentencing as part of this agreement, or that the government agreed to move to dismiss at
sentencing as part of this agreement, then (i) any applicable statute of limitations will be tolled
between the date of defendant’s signing of this agreement and the filing commencing any such
action; and (ii) defendant waives and gives up all defenses based on the statute of limitations,
any claim of pre-indictment delay, or any speedy trial claim with respect to any such action,
except to the extent that such defenses existed as of the date of defendant's signing this

agreement.

28. Consequence of Vacatur, Reversal, or Set-aside: Defendant agrees that if

defendant’s conviction is vacated, reversed, or set aside, both the USAO and defendant will be
released from all their obligations under this agreement, except that, should the USAO choose to
pursue any charge that was either dismissed or not filed as a result of this agreement, then (1) any
applicable statute of limitations will be tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action; and (ii) defendant waives and gives up all
defenses based on the statute of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent that such defenses existed as of
the date of defendant’s signing this agreement.
XII. BREACH OF AGREEMENT

29. Defendant agrees that if, at any time after this agreement becomes effective,
defendant knowingly violates or fails to perform any of defendant’s obligations under this
agreement (“a breach”), the USAO may declare this agreement breached. All of defendant’s
obligations are material, a single breach of this agreement is sufficient for the USAO to declare a
breach, and defendant shall not be deemed to have cured a breach without the express agreement

of the USAO in writing. If the USAO declares this agreement breached, and the district court

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finds such a breach to have occurred, then: (a) if defendant has previously entered a guilty plea
pursuant to this agreement, defendant will remain bound by the provisions of this agreement and
will not be able to withdraw the guilty plea; and (b) the USAO will be relieved of all its
obligations under this agreement.

30. Following the Court’s finding of a knowing breach of this agreement by defendant,
should the USAO choose to pursue any charge contained in the information, or that was either
dismissed or not filed as a result of this agreement, or that the government agreed to move to
dismiss at sentencing as part of this agreement, then:

a. Defendant agrees that any applicable statute of limitations is tolled between
the date of defendant’s signing of this agreement and the filing commencing any such action.

b. Defendant waives and gives up all defenses based on the statute of
limitations, any claim of pre-indictment delay, or any speedy trial claim with respect to any such
action, except to the extent that such defenses existed as of the date of defendant’s signing this
agreement.

c. Defendant agrees that: (i) any statements made by defendant, under oath,

at the guilty plea hearing (if such a hearing occurred prior to the breach); (11) the agreed to factual

basis statement in this agreement; and (iii) any evidence derived from such statements, shall be
admissible against defendant in any such action against defendant, and defendant waives and

gives up any claim under the United States Constitution, any statute, Federal Rule of Evidence
410, Federal Rule of Criminal Procedure 11(f), or any other federal rule, that the statements or

any evidence derived from the statements should be suppressed or are inadmissible.

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XIII. COURT AND UNITED STATES PROBATION
AND PRETRIAL SERVICES OFFICE NOT PARTIES

31. | Defendant understands that the Court and the U.S. Probation and Pretrial
Services Office are not parties to this agreement and need not accept any of the USAO’s
sentencing recommendations or the parties’ agreements to facts or sentencing factors.

32. Defendant understands that both defendant and the USAO are free to argue on
appeal and collateral review that the district court’s sentencing guidelines calculations and the
sentence it chooses to impose are not error.

33. | Defendant understands that, if the district court rejects the plea agreement and
defendant chooses not to withdraw defendant’s guilty plea, the district court may ignore any
sentencing recommendation, find facts or reach conclusions different from those agreed to by the
parties, or impose any sentence up to the maximum established by statute, and defendant will
remain bound to fulfill all defendant’s obligations under this agreement. Defendant understands
that, if the district court rejects the plea agreement and defendant chooses not to withdraw
defendant’s guilty plea, no one—not the prosecutor, defendant’s attorney, or the Court—can
make a binding prediction or promise regarding the sentence defendant will receive, except that
it will be within the statutory maximum.

XIV. ADDITIONAL ACKNOWLEDGMENTS

34. Defendant acknowledges that:

a. Defendant read this agreement and defendant understands its terms and

conditions.

b. Defendant had adequate time to discuss this case, the evidence, and this

agreement with defendant’s attorney.

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c. Defendant carefully and thoroughly discussed all terms of this agreement
with defendant’s attorney.

d. Defendant understands the terms of this agreement and voluntarily agrees
to those terms.

é. Defendant has discussed with defendant’s attorney the following: the
evidence; defendant’s rights; possible pretrial motions that might be filed; possible defenses that
might be asserted either prior to or at trial; the sentencing factors set forth in 18 U.S.C. § 3553(a);
the relevant sentencing guidelines provisions; and consequences of entering into this agreement.

f. The representations contained in this agreement are true and correct,
including the factual basis for defendant’s offense set forth in this agreement.

g. Defendant was not under the influence of any alcohol, drug, or medicine
that would impair defendant’s ability to understand the agreement when defendant considered
signing this agreement and when defendant signed it.

35. Defendant understands that defendant alone decides whether to plead guilty or go
to trial, and acknowledges that defendant has decided to enter defendant’s guilty plea knowing of
the charges brought against defendant, defendant’s possible defenses, and the benefits and
possible detriments of proceeding to trial.

36. Defendant understands that no promises, understandings, or agreements other
than those set forth in this agreement have been made or implied by defendant, defendant’s
attorney, or the USAO, and no additional promises, agreements, or conditions shall have any
force or effect unless set forth in writing and signed by all parties or confirmed on the record
before the district court.

37. Defendant acknowledges that defendant decided to plead guilty voluntarily and

that no one threatened, coerced, or forced defendant to enter into this agreement.

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38. Defendant is satisfied with the representation of defendant’s attorney, and
defendant is pleading guilty because defendant is guilty of the charges and chooses to take
advantage of the promises set forth in this agreement and for no other reason.

XV. PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

39. The parties agree that this agreement will be considered part of the record of

defendant’s guilty plea hearing as if the entire agreement had been read into the record of the

proceeding.

AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE DISTRICT OF NEVADA

JASON M. FRIERSON
United States Attorney

ALLISON REESE Date
Assistant United States Attorney

JEREMY LEE HUTH Date

Defendant

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| MURDOCH WALKER II Date

Attorney for Defendant JEREMY LEE HUTH

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